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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 COMMONWEALTH OF
                                                    Case No.
 MASSACHUSETTS,

                        Plaintiff,
                                                    COMPLAINT
        v.

 TREMBLAY’S BUS CO., LLC,

                        Defendant.


                                        INTRODUCTION

       1.       Defendant Tremblay’s Bus Co., LLC (“Tremblay”) owns and operates a fleet of

motor vehicles, including diesel-powered school buses, that service schools in southeastern

Massachusetts. Tremblay’s bus drivers routinely allow their diesel-powered school buses to idle

unnecessarily for prolonged periods of time—often for more than twenty minutes—on school

grounds in densely populated communities. Inhaling diesel exhaust can cause cancer, aggravated

asthma, lung damage, and other serious health problems and is especially harmful to children, who

have a faster breathing rate than adults and whose lungs are not yet fully developed.

       2.       As a result of Tremblay’s excessive idling, the Commonwealth of Massachusetts

(the “Commonwealth”) brings this civil suit to enforce the requirements of the Federal Clean Air

Act (“CAA”), 42 U.S.C. §§ 7401-7431, and the Massachusetts Clean Air Act (“Massachusetts Air

Act”), G.L. c. 111, §§ 142A-142O. The Commonwealth seeks injunctive relief, civil penalties, and

other relief the Court deems appropriate to redress Tremblay’s excessive vehicle idling and illegal

emissions of air pollution at schools in Massachusetts.
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                                     JURISDICTION AND VENUE

          3.       This Court has jurisdiction over the subject matter of this action pursuant to Section

304(a) of the CAA, 42 U.S.C. § 7604(a); 28 U.S.C. § 1331; and 28 U.S.C. § 1367.

          4.       On June 17, 2021, the Commonwealth provided notice of Tremblay’s violations of

the CAA and of its intention to file suit against Tremblay (the “Notice Letter”), to the

Administrator of the Environmental Protection Agency (“EPA”); the Administrator of EPA Region

1; the Commissioner of the Massachusetts Department of Environmental Protection (“MassDEP”);

the Governor of Massachusetts; and to Tremblay, as required by Section 304(b)(1)(A) of the CAA,

42 U.S.C. § 7604(b)(1)(A).

          5.       More than sixty days have passed since the Commonwealth served the Notice

Letter.

          6.       This action is not barred by any prior state or federal action to enforce the violations

alleged in this complaint.

          7.       The Commonwealth has an interest in protecting for its residents the integrity of the

Massachusetts environment, and the related health, safety, economic, recreational, aesthetic and

environmental interest that the environment provides. The interests of the Commonwealth have

been, are being, and will continue to be adversely affected by Tremblay’s failure to comply with

environmental laws, as alleged herein. The relief sought herein will redress the harms to the

Commonwealth caused by Tremblay’s activities. Continuation of the acts and omissions alleged

herein will irreparably harm the Commonwealth, for which harm it has no other plain, speedy, or

adequate remedy at law.

          8.       Venue is proper in this district pursuant to Section 304(c)(1) of the CAA, 42 U.S.C.

§ 7604(c)(1), because the source of the violations is located within this judicial district.

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                                             PARTIES

       9.       Plaintiff is the Commonwealth appearing by and through the Attorney General.

       10.      The Attorney General is the chief law officer of the Commonwealth, with offices at

One Ashburton Place, Boston, Massachusetts. She is authorized to bring this action and to seek the

relief requested herein under G.L. c. 12, §§ 3 and 11D.

       11.      Defendant Tremblay is a domestic transportation corporation that has its principal

office at 284 Myrtle Street, New Bedford, Massachusetts.

                                  STATUTORY BACKGROUND

                                 Federal Clean Air Act Requirements

       12.      The CAA sets out a comprehensive regulatory scheme designed to prevent and

control air pollution. Congress passed the CAA to prevent air pollution and protect and enhance the

quality of the Nation's air resources to promote the public health and welfare. 42 U.S.C. § 7401(a)-

(b).

       13.      EPA has established National Ambient Air Quality Standards (“NAAQS”) to limit

emissions of certain harmful pollutants—called “criteria pollutants”—including particulate matter.

Id. § 7409; 40 C.F.R. pt. 50. An area that meets the NAAQS for a criteria pollutant is deemed to be

in “attainment” for that pollutant. 42 U.S.C. § 7407(d)(1). An area that does not meet the NAAQS

is a “nonattainment” area. Id.

       14.      Each state is required to develop a “state implementation plan” (“SIP”) to achieve

the NAAQS established by EPA. Id. § 7410(a). Specifically, SIPs set forth requirements for

permitting programs and specific emission standards and limitations to assure that geographic areas

either remain in attainment or come into attainment. Once a state’s SIP is approved by EPA, it is



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published in the Code of Federal Regulations and becomes enforceable federal law. Id. § 7413; 40

C.F.R § 52.23.

        15.      To implement these requirements and achieve and maintain attainment,

Massachusetts has promulgated certain air pollution standards and limitations in the Massachusetts

Air Regulations, 310 C.M.R §§ 7.00-7.75, that have been approved by EPA, incorporated into the

Massachusetts SIP, and are therefore enforceable under the CAA. See EPA Approved Regulations

in the Massachusetts SIP (updated Jan. 20, 2017), https://www.epa.gov/sips-ma/epa-approved-

regulations-massachusetts-sip. These standards and limitations include the Commonwealth’s

prohibitions against causing a condition of air pollution, 310 C.M.R. § 7.01 (the “Air Pollution

Limitation”), and unnecessary idling of motor vehicles for more than five minutes, id. § 7.11 (the

“Anti-Idling Regulation”), as further described below. The Anti-Idling Regulation further

incorporates by reference Registry of Motor Vehicles emissions regulations, which, in turn,

specifically prohibit excessive idling on school grounds. See id. § 7.11(1) (incorporating by

reference 540 C.M.R. § 27.00, the “School Grounds Idling Regulation”).

        16.      Any person may commence a civil enforcement action under the CAA against any

party “who is alleged to have violated . . . or to be in violation of [] an emission standard or

limitation.” 42 U.S.C. § 7604(a). An “emission standard or limitation” includes, among other

things, any standard or limitation under any approved SIP. Id. § 7604(f)(4).

        17.      This Court has authority to enjoin Tremblay’s violations of the CAA, and to impose

penalties of up to $101,439 per day for each violation of the CAA that occurred after November 2,




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2015, pursuant to Sections 113(b) and 304(a) of the CAA, 42 U.S.C. §§ 7413(b), 7604(a); 40

C.F.R. § 19.4; and 85 Fed. Reg. 1751, 1754 (Jan. 13, 2020). 1

                               State Environmental Requirements

                                       Massachusetts Air Act

       18.     The Massachusetts Air Act is intended to protect the atmosphere from pollution and

contamination. See G.L. c. 111, §§ 142A-142O.

       19.     Pursuant to its authority under the Massachusetts Air Act, MassDEP adopted the

Massachusetts Air Regulations “to prevent the occurrence of conditions of air pollution where such

do not exist and to facilitate the abatement of conditions of air pollution where and when such

occur.” 310 C.M.R. § 7.00 (preamble). These regulations are “designed to attain, preserve, and

conserve the highest possible quality of the ambient air compatible with needs of society.” Id.

       20.     As noted above, the Massachusetts Air Regulations include the Air Pollution

Limitation, which states: “No person owning, leasing, or controlling the operation of any air

contamination source shall willfully, negligently, or through failure to provide necessary

equipment or to take necessary precautions, permit any emission from said air contamination

source or sources of such quantities of air contaminants which will cause, by themselves or in

conjunction with other air contaminants, a condition of air pollution.” Id. § 7.01(1).

       21.     The Massachusetts Air Regulations define “air pollution” as “the presence in the

ambient air space of one or more air contaminants or combinations of air contaminants in such

concentrations and of such duration as to cause a nuisance; be injurious or potentially injurious to




   1
    The statutory maximum civil penalty for violations that occurred on or before November 2,
2015, is $37,500 per day, per violation. 40 C.F.R. § 19.4, Table 1.

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human or animal life, vegetation or property; or unreasonably interfere with the comfortable

enjoyment of life and property or the conduct of business.” Id. § 7.00.

       22.     As noted above, the Massachusetts Air Regulations also include the Anti-Idling

Regulation, which establishes restrictions on the operation of motor vehicles, including restrictions

on unnecessary idling. Id. § 7.11.

       23.     In particular, the Anti-Idling Regulation prohibits unnecessary idling of motor

vehicles in general, providing that “[n]o person shall cause, suffer, allow, or permit the

unnecessary operation of the engine of a motor vehicle while said vehicle is stopped for a

foreseeable period of time in excess of five minutes,” with exceptions not relevant here. 310

C.M.R. § 7.11(1)(b).

       24.     The Massachusetts Air Regulations define “motor vehicle” to include “any

equipment or mechanical device propelled primarily on land by power other than muscular

power.” 310 C.M.R. § 7.00.

       25.     As relevant here, the Anti-Idling Regulation further requires “[a]ll motor vehicles

registered in the Commonwealth [to] comply with pertinent regulations of the Registry of Motor

Vehicles relative to exhaust and sound emissions,” thus incorporating by reference the School

Grounds Idling Regulation, a pertinent Registry of Motor Vehicles Regulation intended to

“improve and protect school campus air quality.” 540 C.M.R. § 27.02. 2




   2
     The School Grounds Idling Regulation implements the Massachusetts School Campus Air
Quality Act, which also prohibits unnecessary idling on School Grounds. See G.L. c. 90,
§ 16B(b).

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         26.    With exceptions not relevant here, 3 the School Grounds Idling Regulation in turn

prohibits unnecessary idling in the vicinity of “School Grounds.” Id. § 27.03. 4 The regulation

defines “School Grounds” as the area “in, on or within 100 feet of the real property comprising a

public or private accredited [school] whether or not in session, and shall include any athletic field

or facility and any playground used for school purposes or functions which are owned by a

municipality or school district, regardless of proximity to a school building, as well as any parking

lot appurtenant to such school athletic field, facility, or playground.” Id. § 27.02.

         27.    The Massachusetts Air Act provides that a person who violates the Massachusetts

Air Act or the Massachusetts Air Regulations is liable for civil penalties of up to $25,000 per day

per violation and authorizes this Court to enjoin further violations. G.L. c. 111, §§ 142A-142B.

         28.    The Attorney General has authority to enforce the Massachusetts Air Act and the

Massachusetts Air Regulations, including the Anti-Idling Regulation, pursuant to G.L. c. 12, §§ 3

& 11D.




    3
      The School Grounds Idling Regulation further requires school bus companies in the
Commonwealth to “ensure that each school bus driver employed by them, upon employment and
at least once per year thereafter, is informed of the requirements of M.G.L. c. 90, § 16B and 540
C.M.R. § 27.00 relative to idling on school grounds and of the consequences of not complying
with those requirements.” 540 C.M.R. § 27.06(2).
    4
      For example, the School Grounds Idling Regulation allows limited idling where—as was
not the case here—the temperature is below thirty-five degrees Fahrenheit or above eighty
degrees Fahrenheit, and only under certain prescribed circumstances. 540 C.M.R. § 27.04(d)-(e).

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                                   STATEMENT OF FACTS

                                     Tremblay’s Operations

       29.     Tremblay has provided bus transportation in Southeast Massachusetts for over four

decades and currently owns and operates more than 250 school buses that transport students to and

from schools throughout Southeastern Massachusetts.

       30.     For at least the last five years, Tremblay has operated diesel-powered school buses

and other vehicles to transport children in Southeastern Massachusetts, including transportation to

and from New Bedford High School, located at 230 Hathaway Boulevard in New Bedford, Carney

Academy Elementary School, located at 247 Elm Street in New Bedford, and Hayden McFadden

Elementary School, located at 361 Cedar Grove Street in New Bedford.

       31.     Many of the schools that Tremblay serves are in communities that have been

identified by the Commonwealth and EPA as “Environmental Justice Communit[ies]” because

they have the potential to be disproportionately impacted by environmental harms and risks.

Environmental Justice Community members tend to be isolated from environmental decision

making and are often unable to access state environmental resources.

       32.     New Bedford High School, Carney Academy Elementary School, and Hayden

McFadden Elementary School are located in densely populated residential and commercial areas of

New Bedford designated as “Environmental Justice Communit[ies]” based on the communities’

median household income and the minority percentage in the community.




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                               Tremblay’s Violations of the CAA

                    Excessive Motor Vehicle Emissions into the Atmosphere,
       Unlawful Idling in Excess of Five Minutes, and Excessive Idling on School Grounds

       33.     As set forth in the following Table, between October 30, 2019, and December 10,

2019, Tremblay’s diesel-powered buses idled unnecessarily for more than five minutes on School

Grounds in New Bedford on at least thirty-five occasions. In twenty-seven of those instances,

Tremblay’s buses unnecessarily idled for more than twenty minutes.

                                                          Idling Start   Duration of   Outdoor
     Date          Location                               Time           Idling        Temp.

 1   10/30/2019    New Bedford High School                2:15PM         7 minutes     63° F

 2   10/30/2019    New Bedford High School                2:22PM         23 minutes    63° F

 3   10/30/2019    New Bedford High School                2:24PM         28 minutes    63° F

 4   10/30/2019    New Bedford High School                2:25PM         23 minutes    63° F

 5   11/6/2019     Carney Academy Elementary School       2:10PM         14 minutes    57° F

 6   11/6/2019     Carney Academy Elementary School       2:10PM         21 minutes    57° F

 7   11/6/2019     Carney Academy Elementary School       2:10PM         21 minutes    57° F

 8   11/6/2019     Carney Academy Elementary School       2:10PM         23 minutes    57° F

 9   11/6/2019     Carney Academy Elementary School       2:10PM         25 minutes    57° F

 10 11/6/2019      Carney Academy Elementary School       2:10PM         26 minutes    57° F

 11 11/21/2019     Carney Academy Elementary School       2:10PM         11 minutes    57° F

 12 11/21/2019     Carney Academy Elementary School       2:10PM         21 minutes    57° F

 13 11/21/2019     Carney Academy Elementary School       2:10PM         16 minutes    57° F

 14 11/21/2019     Carney Academy Elementary School       2:10PM         21 minutes    57° F

 15 11/21/2019     Carney Academy Elementary School       2:10PM         16 minutes    57° F

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 16 11/21/2019     Carney Academy Elementary School        2:10PM       21 minutes     57° F

 17 11/21/2019     Carney Academy Elementary School        2:10PM       27 minutes     57° F

 18 11/21/2019     Carney Academy Elementary School        2:10PM       24 minutes     57° F

 19 11/21/2019     Carney Academy Elementary School        2:12PM       22 minutes     57° F

 20 11/22/2019     Hayden McFadden Elementary School       3:08PM       18 minutes     53° F

 21 11/22/2019     Hayden McFadden Elementary School       3:10PM       14 minutes     53° F

 22 12/9/2019      Carney Academy Elementary School        2:08PM       15 minutes     53° F

 23 12/9/2019      Carney Academy Elementary School        2:08PM       24 minutes     53° F

 24 12/9/2019      Carney Academy Elementary School        2:08PM       16 minutes     53° F

 25 12/9/2019      Carney Academy Elementary School        2:08PM       24 minutes     53° F

 26 12/9/2019      Carney Academy Elementary School        2:08PM       24 minutes     53° F

 27 12/9/2019      Carney Academy Elementary School        2:08PM       26 minutes     53° F

 28 12/9/2019      Carney Academy Elementary School        2:08PM       27 minutes     53° F

 29 12/9/2019      Carney Academy Elementary School        2:11PM       24 minutes     53° F

 30 12/10/2019     New Bedford High School                 2:15PM       30 minutes     56° F

 31 12/10/2019     New Bedford High School                 2:17PM       28 minutes     56° F

 32 12/10/2019     New Bedford High School                 2:20PM       25 minutes     56° F

 33 12/10/2019     New Bedford High School                 2:22PM       28 minutes     56° F

 34 12/10/2019     New Bedford High School                 2:22PM       28 minutes     56° F

 35 12/10/2019     New Bedford High School                 2:22PM       28 minutes     56° F


       34.     Diesel exhaust can be carcinogenic to humans by inhalation from environmental

exposures. Diesel engines are a source of fine particulate matter emissions, nitrogen oxides

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(“NOx”), sulfur dioxide (“SO2”), volatile organic compounds (“VOCs”), and many other toxic

compounds, and forty chemicals in diesel exhaust that are listed as hazardous air pollutants under

the CAA.

       35.        Over ninety percent of diesel exhaust particulate matter emissions have diameters

of less than 2.5 microns, fine particles that can penetrate deeply into the lungs. Once inhaled, fine

particulate matter can harm the lungs and pulmonary and respiratory systems, causing serious

health effects. Particulate matter exposure is associated with increased respiratory symptoms, such

as irritation of the airways, coughing, or difficulty breathing; decreased lung function; aggravated

asthma; development of chronic bronchitis; irregular heartbeat; heart attacks; and premature death

in people with heart or lung disease.

       36.        Exposure to NOx can aggravate respiratory diseases, particularly asthma, leading to

respiratory symptoms such as irritation of the airways, coughing, or difficulty breathing.

       37.        Exposure to SO2 can cause respiratory illness, aggravation of asthma, other adverse

effects on breathing, alterations in pulmonary defenses, and aggravation of existing cardiovascular

disease.

       38.        Benzene, a VOC present in diesel exhaust, is designated as a hazardous air pollutant

under the CAA, is a known human carcinogen, and can also cause neurological harm in humans

and animals.

       39.        Formaldehyde, another pollutant present in diesel exhaust, is a probable human

carcinogen. Exposure to formaldehyde can cause eye, nose, and throat irritation and harm to the

nasal cavity. Exposure to high levels of formaldehyde can cause coughing, wheezing, chest pains,

and bronchitis.



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       40.     Non-diesel, non-electric motor vehicles, including ethanol, propane, and

compressed natural gas buses, also emit harmful air pollutants.

       41.     Children, seniors, and people suffering from asthma are generally at greater risk for

the health effects of air pollution. Accordingly, when motor vehicles, including diesel-powered

school buses, idle at schools, they cause children and others to suffer from increased exposure to

and harmful consequences from air pollutants, including fine particulate matter.

       42.     By allowing its motor vehicles, including its diesel-powered school buses, to idle

on School Grounds, including leading up to and during school dismissal when children are outside,

Tremblay exposed children and others to air pollutants, including fine particulate matter.

       43.     As detailed herein, Tremblay has willfully, negligently, or through failure to

provide necessary equipment or take necessary precautions permitted its motor vehicles, including

its diesel-powered school buses, to emit harmful exhaust on School Grounds and in other

Massachusetts locations for unnecessarily long periods of time. As a result, Tremblay has allowed

its motor vehicles to emit quantities of air contaminants that will cause, by themselves or in

conjunction with other air contaminants, a condition that is or potentially is injurious to human or

animal life or will unreasonably interfere with the comfortable enjoyment of life and property or

the conduct of business.

       44.     As detailed herein, Tremblay has on numerous occasions caused, suffered, allowed,

or permitted the unnecessary idling of its motor vehicles, including its diesel-powered school

buses, while those vehicles were stopped for a foreseeable period of time in excess of five minutes.

       45.     As detailed herein, Tremblay has caused or allowed the engines of its motor

vehicles, including its diesel-powered school buses, to idle unnecessarily on School Grounds.



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                                   FIRST CAUSE OF ACTION
                              Violations of the Federal Clean Air Act:
             SIP Violations - Causing or Contributing to a Condition of Air Pollution
                                        42 U.S.C. § 7604(a)

       46.      The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       47.      The Commonwealth is a “person” within the meaning of 42 U.S.C. §§ 7602(e) and

7604(a)(1) and thus entitled to bring suit thereunder.

       48.      Tremblay is a “person” within the meaning of 42 U.S.C. §§ 7602(e) and 7604(a)(1).

       49.      The Air Pollution Limitation is an “emission standard or limitation” within the

meaning of 42 U.S.C. § 7604(a)(1). See also 42 U.S.C. § 7604(f)(4) (defining “[e]mission

standard or limitation” enforceable through citizen suits).

       50.      The Air Pollution Limitation is included in the SIP. See 310 C.M.R. § 7.11(1)(b);

EPA Approved Regulations in the Massachusetts SIP (updated Jan. 20, 2017),

https://www.epa.gov/sips-ma/epa-approved-regulations-massachusetts-sip.

       51.      The motor vehicles, including diesel-powered school buses, that Tremblay has

operated and operates in Massachusetts, emit to the ambient air harmful “air pollution” and “air

contaminants” with the meaning of the Massachusetts Air Regulations, 310 C.M.R. §§ 7.00-7.75,

as incorporated into the Massachusetts SIP.

       52.      The motor vehicles, including the diesel-powered school buses, that Tremblay has

operated and operates in Massachusetts are “air contamination sources” within the meaning of the

Air Pollution Limitation, 310 C.M.R. § 7.01(1), as incorporated into the Massachusetts SIP.

       53.      At all relevant times, Tremblay has “own[ed], leas[ed], or controll[ed] the operation

of” motor vehicles, including diesel-powered school buses, that are air contamination sources


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within the meaning of the Air Pollution Limitation, 310 C.M.R. § 7.01(1), as incorporated into the

Massachusetts SIP.

       54.     By willfully, negligently, or through failure to provide necessary equipment or take

necessary precautions permitting its motor vehicles, including its diesel-powered school buses, to

idle on School Grounds and in other Massachusetts locations for unnecessarily long periods of

time, and thus allowing its motor vehicles, including its diesel-powered school buses, to emit

quantities of air contaminants that will cause, by themselves or in conjunction with other air

contaminants, a condition that is or potentially is injurious to human or animal life or will

unreasonably interfere with the comfortable enjoyment of life and property or the conduct of

business, Tremblay has violated the Air Pollution Limitation, 310 C.M.R § 7.01(1).

       55.     Each of Tremblay’s violations of the Air Pollution Limitation, 310 C.M.R.

§ 7.01(1), is a separate and distinct violation of an emission standard or limitation under the CAA,

42 U.S.C. § 7604(a), for each day on which the violation occurred or continued.


                                SECOND CAUSE OF ACTION
                           Violations of the Federal Clean Air Act:
              SIP Violations – Failure to Comply with the Anti-Idling Regulation
                                      42 U.S.C. § 7604(a)

       56.     The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       57.     The Anti-Idling Regulation is an “emission standard or limitation” within the

meaning of 42 U.S.C. § 7604(a)(1). See also 42 U.S.C. § 7604(f)(4).

       58.     The Anti-Idling Regulation is included in the SIP. See 310 C.M.R. § 7.11; EPA

Approved Regulations in the Massachusetts SIP (Jan. 20, 2017), https://www.epa.gov/sips-ma/epa-

approved-regulations-massachusetts-sip.

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       59.      By causing, suffering, allowing, or permitting the unnecessary idling of its motor

vehicles, including its diesel-powered school buses, while those vehicles were stopped for a

foreseeable period of time in excess of five minutes, Tremblay has violated the Anti-Idling

Regulation, 310 C.M.R. § 7.11(1)(b).

       60.      By causing or allowing the engines of its motor vehicles, including its diesel-

powered school buses, to idle unnecessarily on School Grounds, Tremblay has violated the School

Grounds Idling Regulation, 540 C.M.R. § 27, and, accordingly, the Anti-Idling Regulation. 310

C.M.R. § 7.11(1)(a) (incorporating by reference the School Grounds Idling Regulation, 540

C.M.R. § 27).

       61.      Each of Tremblay’s violations of the Anti-Idling Regulation, 310 C.M.R. § 7.11, is

a separate and distinct violation of an emission standard or limitation under the CAA, 42 U.S.C.

§ 7604(a), for each day on which the violation occurred or continued.




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                                THIRD CAUSE OF ACTION
                           Violations of the Massachusetts Air Act:
                    Causing or Contributing to a Condition of Air Pollution
                          G.L. c. 111, § 142A; 310 C.M.R. § 7.01(1)

       62.     The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       63.     By willfully, negligently, or through failure to provide necessary equipment or take

necessary precautions permitting its motor vehicles, including its diesel-powered school buses, to

idle on School Grounds and in other Massachusetts locations for unnecessarily long periods of

time, and thus allowing its motor vehicles to emit quantities of air contaminants that will cause, by

themselves or in conjunction with other air contaminants, a condition that is or potentially is

injurious to human or animal life or will unreasonably interfere with the comfortable enjoyment of

life and property or the conduct of business, Tremblay has violated the Air Pollution Limitation,

310 C.M.R § 7.01(1), and the Massachusetts Air Act, G.L. c. 111, § 142A.

       64.     Each of Tremblay’s violations of the Air Pollution Limitation, 310 C.M.R.

§ 7.01(1), and the Massachusetts Air Act, G.L. c. 111, § 142A , is a separate and distinct violation

for each day on which the violation occurred or continued.

                                FOURTH CAUSE OF ACTION
                            Violations of the Massachusetts Air Act:
                       Failure to Comply with the Anti-Idling Regulation
                             G.L. c. 111, § 142A; 310 C.M.R. § 7.11

       65.     The Commonwealth realleges and incorporates by reference the allegations

contained in the above paragraphs.

       66.     By causing, suffering, allowing, or permitting the unnecessary idling of its motor

vehicles, including its diesel-powered school buses, while those vehicles were stopped for a

foreseeable period of time in excess of five minutes under conditions that do not satisfy any

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regulatory exemption, Tremblay has violated the Anti-Idling Regulation, 310 C.M.R. § 7.11(1)(b),

and the Massachusetts Air Act, G.L. c. 111, § 142A.

       67.     By causing or allowing the engines of its motor vehicles, including its diesel-

powered school buses, to idle unnecessarily on School Grounds, Tremblay has violated the School

Grounds Idling Regulation, 540 C.M.R. § 27, and, accordingly, the Anti-Idling Regulation, 310

C.M.R. § 7.11(1)(a) (incorporating by reference the School Grounds Idling Regulation, 540

C.M.R. § 27), and the Massachusetts Air Act, G.L. c. 111, § 142A.

       68.     Each of Tremblay’s violations of the Anti-Idling Regulation, 310 C.M.R.

§ 7.11(1)(a) and (b), and the Massachusetts Air Act, G.L. c. 111, § 142A, is a separate and distinct

violation for each day on which the violation occurred or continued.

                                     RELIEF REQUESTED

WHEREFORE, the Commonwealth respectfully requests that this Court grant the following relief:

       1.      Permanently enjoin Tremblay from:

                       a.      allowing its motor vehicles, including its diesel-powered school

               buses, to idle on School Grounds and in other Massachusetts locations for

               unnecessarily long periods of time in violation of the Air Pollution Limitation, 310

               C.M.R. 7.01(1);

                       b.      allowing its motor vehicles, including its diesel-powered school

               buses, to idle unnecessarily for a foreseeable period of time in excess of five

               minutes in violation of the Anti-Idling Regulation; and

                       c.      allowing its motor vehicles, including its diesel-powered school

               buses, to idle unnecessarily on School Grounds in violation of the School Grounds

               Idling Regulation and, accordingly, the Anti-Idling Regulation.

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       2.      Order Tremblay to pay civil penalties of up to

                      a.      $37,500 per day for each violation of the CAA that occurred on or

               before November 2, 2015, and up to $101,439 per day for each violation of the

               CAA that occurred after November 2, 2015, pursuant to Sections 113(b) and 304(a)

               of the CAA, 42 U.S.C. §§ 7413(b), 7604(a), 40 C.F.R. § 19.4, and 85 Fed. Reg.

               1751, 1754 (Jan. 13, 2020); and

                      b.      $25,000 for each day of each violation of the Massachusetts Air Act,

               G.L. c. 111, § 142A, to the Commonwealth;

       3.      Order Tremblay to take appropriate actions to remedy harm caused by its

noncompliance with the CAA;

       4.      Award the Commonwealth’s costs, including reasonable investigative, attorney,

witness, and consultant fees, as authorized by the CAA, 42 U.S.C. § 7604(d); and

       5.      Award any such other and further relief as this Court may deem appropriate.




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Dated: July 28, 2021
                                    Respectfully submitted,


                                    COMMONWEALTH OF MASSACHUSETTS

                                    By its attorney,

                                    MAURA HEALEY
                                    ATTORNEY GENERAL

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